The mother of a 13 year old boy appeals from an order (it will be found in the reporter's statement of the case) requiring her to contribute $2.50 a week toward his support and maintenance. The boy's father is dead; after his death, she married her present husband; he declines to permit her to take her son into their home. The case has been before the Juvenile Division of the Municipal Court since April, 1926. The details of the proceedings are fully and clearly stated in an opinion by the President Judge of that court filed pursuant to rule 58, with the reasons for the order; as that opinion will be found in the reporter's statement of the case, the subject need not be repeated here.
We confine our review to the only questions stated by appellant: 1. Whether `an order can be made upon the child's mother who has no property or income, to contribute to the support of the child?" 2. Whether an agreement made in 1917 by the mother and step-father of the one part, and the child's paternal *Page 241 
grand-parents on the other, by which the latter agreed to take custody of and to support the boy, now relieves the mother?
1. The proceeding is under the Juvenile Court Act of April 23, 1903, P.L. 274, amended June 15, 1911, P.L. 959, which provides in section 4 that the court may "make an order upon the parent or parents of any such child to contribute to the support of the child such sum as the court may determine......" The order must of course be conditioned on ability to pay. The record in this case shows that appellant is a housekeeper; she has ability to perform the duties incident to that occupation; that ability has a present monetary value; there is ample demand for such service; the order is predicated on the conclusion that in amount it is only a reasonable part of the weekly monetary value of appellant's earning capacity in that occupation. As to the amount, this court is unwilling to substitute its judgment for that of the court below and to say that the amount is excessive, because there is nothing in the record to indicate an abuse of the power to fix the amount in the circumstances under consideration. It is not sufficient, as appellant suggests, that because she has no property or income, she is exempt; the question concerns her ability to earn, and that is not denied.
2. The effect of the agreement needs no discussion. The welfare of the child is the dominant element in the problem before the court below; the law requires the court to consider that element; for that reason the mother's contract cannot supersede the law; see Com. v. Reckefus, 92 Pa. Super. 117, 120; Com. ex rel. v. Manning, 89 Pa. Super. 301.
The order is affirmed at the cost of appellant. *Page 242 